     Case 6:22-cv-00450-JDK Document 23 Filed 01/12/23 Page 1 of 2 PageID #: 107




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

TEXAS MEDICAL ASSOCIATION, et               §
al.,                                        §
                                            §
        Plaintiffs,                         §
                                            §    Case No. 6:22-cv-450-JDK
v.                                          §
                                            §    Lead Consolidated Case
UNITED STATES DEPARTMENT OF                 §
HEALTH AND HUMAN SERVICES,                  §
et al.,                                     §
                                            §
        Defendants.                         §
                                            §
                                            §
LIENET, INC., et al.,                       §
                                            §
        Plaintiffs,                         §
                                            §
v.                                          §    Case No. 6:22-cv-453-JDK
                                            §
UNITED STATES DEPARTMENT OF                 §
HEALTH AND HUMAN SERVICES,                  §
et al.,                                     §
                                            §
        Defendants.                         §

                    ORDER CONSOLIDATING CASES AND
             SETTING SUMMARY JUDGMENT BRIEFING SCHEDULE
         Before the Court is the parties’ joint motion to consolidate these cases and to

 set a summary judgment briefing schedule in this case (Docket No. 21). The Court

 hereby GRANTS the motion.

         Federal Rule of Civil Procedure 42(a) provides that when actions involving

 common questions of law or fact are pending before the Court, the Court may order

 the actions consolidated or conduct a joint hearing or trial. These two cases present



                                            1
 Case 6:22-cv-00450-JDK Document 23 Filed 01/12/23 Page 2 of 2 PageID #: 108




common issues of law and fact and should be consolidated. Accordingly, for the

purposes of judicial economy and efficiency, the Court ORDERS that these two cases

are CONSOLIDATED, with Case No. 6:22-cv-450 as the lead case. All future docket

entries should be made only in the lead case except for orders reflecting a final

disposition.

       It is further ORDERED that the briefing schedule for summary judgment in

this case is as follows:

 Plaintiffs’ motions for summary judgment                      January 17, 2023
 Amicus curiae briefs supporting plaintiffs                    January 31, 2023
 Defendants’ opposition/cross-motion for summary                March 3, 2023
 judgment
 Amicus curiae briefs supporting defendants                     March 17, 2023
 Plaintiffs’ oppositions/replies in support of summary          March 24, 2023
 judgment
 Defendants’ reply in support of summary judgment                April 14, 2023

       Plaintiffs in each of the two consolidated cases may file (i) separate summary

judgment motions of up to 30 pages each and (ii) separate opposition/reply briefs of

up to 30 pages each. Defendants may file (i) a single consolidated opposition/cross-

motion for summary judgment of up to 50 pages and (ii) a single consolidated reply

brief of up to 30 pages. Amicus curiae need not move for leave before filing briefs.

       Finally, Defendants’ obligation to answer the complaints in these actions is

waived.

       So ORDERED and SIGNED this 12th day of January, 2023.



                                           ___________________________________
                                           JEREMY D. KERNODLE
                                           UNITED STATES DISTRICT JUDGE



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